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                                   STATEMENT OF FACTS

        Your affiant, Bryan C. Thompson, is a Task Force Officer with the Federal Bureau of
Investigation (FBI) and is presently tasked with investigating criminal activity in and around the
Capitol grounds. As a Task Force Officer, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detention, investigation, or prosecution of a violation of
Federal criminal laws. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police.
Restrictions around the U.S. Capitol include permanent and temporary security barriers and posts
manned by U.S. Capitol Police. Only authorized people with appropriate identification are allowed
access inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was
closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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       After the events of January 6, 2021, on February 1, 2021, a complainant (“Witness-1”)
provided a tip to the FBI that a Snapchat user with the display screen name of “Oliver”
posted/livestreamed a video of himself on Snapchat while he was inside the U.S Capitol complex
on January 6, 2021. Witness-1 observed the posting of the person he/she knows to be Oliver
SARKO. Witness-1 has known SARKO for years prior to the Snapchat post. According to
Witness-1, after viewing the video on Snapchat, his/her sibling sent him/her the link to the same
video of events at the Capitol posted on Snapchat. Witness-1 believed that SARKO was inside of
the U.S. Capitol Building. SARKO captioned the video with the phrase, “We’re in.”

        A second tip was provided by a second complainant (“Witness-2”). On March 1, 2021,
Witness-2 informed the FBI that he/she has known Oliver SARKO for years. Witness-2 told
agents that he/she often communicates with SARKO through Snapchat. Witness-2 knows that
SARKO’s Snapchat handle name is “osark21.” Witness-2 was also able to provide the FBI with
SARKO’s last known telephone number. Witness-2 is also familiar with SARKO’s voice and
recognized his voice in the video post. According to Witness-2, he/she reviewed the
post/livestream and knew that SARKO attended the Capitol riot. Witness-2 believed that SARKO
entered the U.S. Capitol Building based on his posting. Witness-2 specifically identified SARKO
by his name, “Oliver Sarko,” and identified SARKO in a photograph presented to him/her by law
enforcement.

      Your affiant conducted database searches regarding the listed subject (Oliver Louis
SARKO). During a review of the database search, your Affiant learned an individual named Oliver
L. SARKO is a possible user of Snapchat handle name “osark21.”

        Based on the information provided by Witness-1 and Witness-2, your affiant viewed the
Snapchat video. Numerous video clips were posted by a user with the screen name of “Oliver.” In
one of the initial video clips, the user with a screen name of “Oliver” posts a video with the phrase,
“Walking to capitol now.” A screenshot from that video is below as Exhibit A.
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                                            Exhibit A




        In a second video clip, the user posted a video of himself. Witness-2 observed the entirety
of the video posted by SARKO and identified SARKO as the individual depicted in the video.
Screenshots from that second video clip are below as Exhibit B. In order to confirm that the
unknown white male in the video was SARKO, your affiant researched photographs of SARKO
utilizing the Ohio Bureau of Motor Vehicle database. Upon viewing a DMV picture of “Oliver
Sarko” and comparing the video uploaded to Snapchat, your affiant determined that the individual
depicted in the video is likely Oliver SARKO. As the video continues, SARKO can be heard
outside of the U.S. Capitol stating many phrases such as “We are storming the Capitol out here.”
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                                           EXHIBIT B




        In a third video clip, the user, SARKO, posted a video outisde of the U.S. Capitol Building.
In the video, SARKO describes the “storming” of the U.S. Capitol Building and the damage being
done to the exterior of the U.S. Capitol Building by those attempting to make entery into the U.S.
Capitol Building.
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                                          EXHIBIT C




        In a fourth video clip, SARKO appears to be inside of the U.S. Captiol Building. Once
inside the U.S. Capitol Building, SARKO posted a video with the caption “I’m in.” A screenshot
from that video clip is below as Exhibit D. The user can also be heard stating: “Where are the
traitors?” “Bring out Pelosi!” “We won’t let you steal this country.” “We’re actually breaking in
right now.” “Fight for Trump!” “Beijing Biden will never be president, we reject communism.”
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                                         EXHIBIT D




       In Exhibit E, SARKO is captured on closed-circuit television within the U.S. Capitol
Building (otherwise referred to as “CCTV”) while he walking inside of the U.S. Capitol Building.
While reviewing CCTV footage, your affiant observed that the clothing worn by SARKO in
Exhibit E is consistent with closeup of SARKO in Exhibit B.
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                                       EXHIBIT E




        In Exhibit F, SARKO is captured on CCTV in possesion of his telephone. Your affiant
believes that this telephonic device was used to post/livestream the videos to Snapchat.
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                                         EXHIBIT F




        Your affiant observed additional CCTV footage in which SARKO enters two rooms inside
of the U.S. Capitol Building. Your Affiant consulted with the U.S. Capitol Police to determine
the rooms SARKO entered. According to U.S. Capitol Police, the user entered the office of U.S.
Senator Jeff Merkley. Your affiant requested closed caption television footage from cameras
within the U.S. Capitol Building. Upon reviewing the footage, your affiant observed SARKO in
the doorway of Senator Merkley’s office. A CCTV-generated still photograph of SARKO in the
doorway of Markey’s Office is below as Exhibit G.


                                         EXHIBIT G
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       Additional video footage captured via a cellular telephone and posted to Snapchat
shows SARKO inside of a room identified by U.S. Capitol Police as a room utilized by the
spouses of the U.S. senators. A screenshot from video in the room is below as Exhibit H.

                                  EXHIBIT H
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        While inside of the spouses’ room, SARKO utilizes his telephone to take video footage
of rioters inside of the room. Exhibit I is a screenshot from SARKO’s video in that room.

                                               EXHIBIT I




       At no time was SARKO authorized to be inside the U.S. Capitol complex.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Oliver SARKO violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions.

        Your affiant submits that there is also probable cause to believe that Oliver SARKO
violated 40 U.S.C. § 5104(e)(2)(C)(D) & (G) which makes it a crime to enter or remain in a room
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designated for the use of either House of Congress or a Member with intent to disrupt the orderly
conduct of official business, utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress.




                                                      _________________________________
                                                      Bryan C. Thompson
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 7th day of April 2021.                                     Digitally signed by G.
                                                                        Michael Harvey
                                                                        Date: 2021.04.07
                                                      ___________________________________
                                                                        20:24:32 -04'00'
                                                      U.S. MAGISTRATE JUDGE
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